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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LUIS ALONSO MURILLO-                            §
 ALVARENGA,                                      §
         Petitioner                              §       1:23-CR-17-RP
 v.                                              §       1:24-CV-1266-RP-ML
                                                 §
 UNITED STATES OF AMERICA,                       §
         Respondent.                             §

                                            ORDER

       Before the court is Petitioner Luis Alonso Murillo-Alvarenga’s Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence (Dkt. 46).

       Accordingly, the court ORDERS the Clerk to serve a copy of the Motion (Dkt. 46) upon

the United States Attorney. It is FURTHER ORDERED that the United States Attorney, on

behalf of Respondent, file an answer or other response to the Motion within sixty (60) days of the

date of service of the Motion on Respondents. If Petitioner desires to file a reply to Respondent’s

response, he is ORDERED to do so within thirty (30) days of the date of service of the response

on him. Once the reply has been filed or the time to do so has elapsed, the undersigned will

determine and direct any further proceedings in this matter.



        SIGNED November 4, 2024
                                                _______________________________
                                                MARK LANE
                                                UNITED STATES MAGISTRATE JUDGE




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